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        Finally, the Government respectfully requests that this letter be filed under temporary seal
until May 3, 2021, to allow counsel for Giuliani and Toensing to make any redaction or sealing
requests during that time. The Government has simultaneously transmitted a proposed redacted
version of this letter, which redactions are narrowly tailored to protect the Government’s ongoing
investigation, including with respect to matters that remain under seal. To the extent it later
becomes appropriate for the letter to be filed without redactions, the Government will so move.


                                                     Respectfully submitted,

                                                     AUDREY STRAUSS
                                                     United States Attorney for the
                                                     Southern District of New York

                                                 By: _____/s/_______________________
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